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               Exhibit 2
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MEDIATOR

In Revoking Press Credentials, Trump Casts
Himself as Punisher in Chief
By Jim Rutenberg

June 14, 2016

You never know what’s going to cause Donald J. Trump to ofﬁcially ban a news organization from
his presidential campaign events.

For The Washington Post, it was a headline on Monday saying “Donald Trump Suggests
President Obama Was Involved With Orlando Shooting.” Mr. Trump said Mr. Obama’s refusal to
say the words “radical Islamic terrorism” meant that, “there’s something going on.” He did not
say what Mr. Obama’s secret agenda might be, leaving it to others to interpret. The Post later
changed its headline to read that he “seems to connect” Mr. Obama to the shootings. Too late —
banned! (And, of course, “SAD!”)

For the Politico reporter Ben Schreckinger, it was, apparently, a story about internal Trump
dissension over his campaign manager’s “quick temper and heavy-handed leadership” that got
his credentials revoked. For The Des Moines Register news team it was the editorial board’s call
for Mr. Trump to exit the race. Then there was BuzzFeed News, The Hufﬁngton Post, Univision,
The Daily Beast and so on.

There is no obvious consistency to it, from a candidate who can also be as accessible as any in
history. After all, The Wall Street Journal’s similar headline, that Mr. Trump “Links Obama to
Extremists,” didn’t cost that paper its ofﬁcial entree.

Only Mr. Trump knows whether the bans are the result of pique or some carefully thought-out
strategy (he denies the latter).

But that doesn’t matter.

As of now, there is only this: The all-but-conﬁrmed standard-bearer of one of the United States’s
two major political parties is actively stripping credentials from news organizations that report
things that he deems unfair or inaccurate. He has a black list and, unlike the one that Nixon kept,
this is not a secret. Quite the opposite.


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I called and sent email to the Republican National Committee a couple of times on Tuesday, to see
whether the party Mr. Trump will soon be nominated to lead would carry out the same bans, but I
did not get a return call.

I did get a call back from Mr. Trump, who said that he was exercising his right to choose whom he
grants credentials to as he runs a campaign that he has mostly paid for himself. “I’m from a
different world, other than politics,” he said. “In my world, when people don’t treat you fairly … ”
He didn’t ﬁnish the sentence, but he didn’t have to: You cut them off.

“I don’t want good stories,” he said, “I want fair stories.”

To his mind, The Post had not been fair in its coverage of his speech, as evidenced by its decision
to change its headline. But why, I asked him, was that the incident that led him to ban the paper. It
was “the last straw,” he told me. At The Washington Post, he said, “virtually every article is
negative even when I have big victories.”

The New York Times was not much better, Mr. Trump said, citing a recent article about his
relationship with women over the years. He rebutted the article after it was published and his
lawyer demanded, unsuccessfully, that the paper retract it. When I noted that Mr. Trump had not
removed The Times’s credentials, Mr. Trump said, “You’re marginal, you’re marginal,” apparently
meaning we, too, were close to losing credentials to cover him. He added, “It’s always possible,
anything’s possible.”

I asked Mr. Trump what, exactly, will prompt a credential ban.

“If people don’t cover me fairly, or if they actually make things up, I don’t know why anybody
should be allowed,” he said.

Fairness, and, increasingly, accuracy, is in the eye of the candidate and his or her supporters. That
is worrisome, especially if Mr. Trump takes his strategy to the White House.

But Mr. Trump said he would not impose similar credential bans if he won the presidency. “That’s
different from me taking something away — there I’m taking something away where I’m
representing the nation,” he said. As for The Post, he said, “If they start covering me accurately,
not even well, just accurately — I don’t want anything — they will get the credentials back.”

Martin Baron, The Post’s executive editor, said the newspaper was not going to change the way it
covered Mr. Trump, which he described as “fair, honest and honorable.”

“I don’t think we have to seek a Good Housekeeping Seal of Approval from a presidential
candidate — that’s true during a campaign and that’s true during a presidency,” he said.

There needs to be mutual respect between the media and the candidates, he said, and “in this
instance, clearly no respect toward our role is being shown.’’ (Mr. Baron noted that The Post
changed the headline of its own volition, to make it more accurately reﬂect Mr. Trump’s remarks,
https://www.nytimes.com/2016/06/15/business/media/donald-trump-washington-post.html                                             2/3
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which happens frequently across the media).

“Anybody who aspires to be president of the United States should exhibit behavior as a candidate
that he or she would display as president of the United States,” he said.

The idea of a presidential campaign, after all, is to give the public a sense of how a candidate will
behave in ofﬁce. And yes, Hillary Clinton’s resistance to news conferences does not exactly augur
an open hand with the news media either, and I don’t add that as mere “false balance.” She should
do more.

Republicans, more than Democrats, have used the news media as a foil for decades. And neither
of the last two Republicans to hold the White House — George H. W. Bush and George W. Bush —
loved the news media. But neither of them denied credentials to reporters covering them. A
notable exception: Vice President Dick Cheney, who tended to not make room for New York
Times reporters on his plane. I personally was on the wrong end of that deal once.

But the campaign still gave us credentials for his events. And, either way, we made do, because it
is the job of reporters to get the facts — and present them fairly and accurately — regardless of
the obstacles. Mr. Trump made the same point, noting that reporters without ofﬁcial credentials
were welcome to come to his events on their own, and report from the crowd should they manage
to obtain entree.

“We’re not locking the doors where they can’t get in,” he said, though Mr. Schreckinger of Politico
was recently escorted out of an event.

But doesn’t stripping credentials from out-of-favor reporters send a chill? “They send a chill by
showing what a disgrace the media’s been,” Mr. Trump said.

Though Mr. Trump said his scraps with the media were not strategic, he noted they played well
with some of his supporters. “Some people think they don’t like it,’’ he said. “Many people like it —
they say, ʻThey’re being punished for being dishonest.’’’

Brrrr.

A version of this article appears in print on June 15, 2016, on Page B1 of the New York edition with the headline: In Revoking Credentials, Trump
Acts as Punisher in Chief




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